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                            No. 24-40705
                                IN THE
  United States Court of Appeals for the Fifth Circuit
   Texas Bankers Association; Rio Bank, McAllen, Texas; American
    Bankers Association; Texas First Bank; Independent Bankers
 Association of Texas; Independent Community Bankers of America,
                                Plaintiffs-Appellants
                                   v.
 Consumer Financial Protection Bureau; Rohit Chopra, in his official
  capacity as Director of the Consumer Financial Protection Bureau,
                                Defendants-Appellees
                                   v.
    Texas Farm Credit; Farm Credit Council; Capital Farm Credit,
                          Intervenor Plaintiffs-Appellants
                                   v.
 Rally Credit Union; Credit Union National Association; Cornerstone
 Credit Union League, XL Funding, L.L.C.; Equipment Leasing and
                          Finance Association
                               Intervenors-Appellants


       On Appeal from the United States District Court for the
            Southern District of Texas, No. 7:23-cv-144
                        Hon. Randy Crane

 PLAINTIFFS-APPELLANTS, INTERVENORS-APPELLANTS,
AND INTERVENOR PLAINTIFFS-APPELLANTS’ EMERGENCY
MOTION FOR A STAY PENDING APPEAL AND AN EXPEDITED
                     APPEAL
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            CERTIFICATE OF INTERESTED PERSONS


     Pursuant to Fifth Circuit Rule 28.2.1, undersigned counsel

certifies that the following listed persons and entities as described in

the fourth sentence of Rule 28.2.1 have an interest in the outcome of

these appeals. These representations are made in order that the judges

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     Capital Farm Credit
     XL Funding, LLC
     Equipment Leasing and Finance Association
     Rally Credit Union


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                            INTRODUCTION

      This Court has repeatedly emphasized that complying with an

unlawful rule inflicts irreparable harm because those compliance costs

cannot be recovered later. E.g., Wages & White Lion Invs., L.L.C. v.

FDA, 16 F.4th 1130, 1142 (5th Cir. 2021). Absent a stay pending

appeal, Plaintiffs1 will suffer precisely that irreparable harm.

      In 2023, the Consumer Financial Protection Bureau (CFPB)

promulgated a rule that both exceeds its statutory authority and is

arbitrary and capricious. That rule requires that lenders collect and

submit to the CFPB numerous data points, including pricing

information, about the loans they issue to small businesses. Plaintiffs’

members must comply with the CFPB’s rule as early as summer 2025.

To meet the deadlines, lenders will have to incur substantial

compliance costs in the imminent future, including technology costs and

hiring new staff, and obtain sensitive demographic information that

many lenders are only authorized to collect based upon the rule.




1 This motion is brought by all Plaintiffs and Intervenors, but will use

“Plaintiffs” for readability.

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      The district court has refused to vacate the CFPB’s unlawful rule.

On October 15, 2024, Plaintiffs filed a stay motion, seeking to toll those

deadlines, pending the outcome of this appeal. The district court failed

to rule on it.

      That means that, without this Court’s intervention, Plaintiffs,

while challenging the CFPB rule in this Court, will be forced to comply

with the rule and so doing will suffer irreparable harm. Given that

irreparable harm, plus the likelihood that Plaintiffs will succeed on

appeal and that the equities strongly favor staying the compliance

deadlines while this Court resolves the merits of this appeal, a stay

pending appeal is warranted.

      Plaintiffs therefore ask that this Court grant a stay, tolling the

compliance deadlines pending appeal.

      In addition, given the imminent irreparable harms they face,

Plaintiffs request that the Court grant a stay pending resolution of this

stay motion.

      Plaintiffs also request that the Court expedite this appeal.




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                            BACKGROUND

     This appeal concerns a challenge to the CFPB’s rule implementing

§ 1071 of the Dodd-Frank Wall Street Reform and Consumer Protection

Act of 2010.

     Congress enacted that provision to facilitate the enforcement of

fair lending laws and to help identify the needs and opportunities of

women-owned, minority-owned, and small businesses. See 15 U.S.C.

§ 1691c-2(a). To that end, Congress directed the CFPB to promulgate a

rule requiring lenders to “inquire” whether applications for credit are

from a business that is “women-owned, minority-owned, or [a] small

business,” 15 U.S.C. § 1691c-2(b)(1), and “compile and maintain” that

information, along with certain other basic information “provided by

any loan applicant.” Id. § 1691c-2(e)(1) (emphasis added). The 13 data

points Congress required lenders to “compile” consisted exclusively of

information that would be contained or derived from an application for

small business credit, and the lender’s underwriting decision with

respect to that application. Id. § 1691c-2(e)(2)

     Although the data collection obligations Congress imposed are

clearly modeled on those applicable to mortgage lenders under the



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Home Mortgage Disclosure Act (HMDA), Congress notably declined to

require, as it had in the HMDA, the compilation and reporting of

detailed information regarding the pricing of loans. Compare 15 U.S.C.

§ 1691c-2(e)(2) (not requiring pricing data) with 12 U.S.C. § 2803(b)(5)

(requiring the compilation of price information relating to mortgages).

Rather, unlike with the HMDA, small business lenders’ obligation to

“compile and maintain” data was expressly limited to information

“provided by any loan applicant.” 15 U.S.C. § 1691c-2(e)(1). And while

the second paragraph of this subsection directs lenders to itemize this

information, that obligation was expressly limited to “[i]nformation

compiled and maintained under paragraph (1)”—i.e., “information

provided by any loan applicant.”

     This limitation is reflected in the specific data points Congress

listed, which concern information regarding loan applications—for

example, demographic data about the loan “applicant,” the date of the

application, the “purpose of the loan or other credit being applied for,”

and “the type of action taken with respect to such application.” § 1691c-

2(e)(2). Nothing in Congress’ list concerns data points beyond those

that are contained in or derived from the application and the lender’s



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decision to grant or deny the application, which Congress presumably

understood lenders were already required to document and retain. See

§ 1691(d) (requiring adverse action notices to be provided to applicants);

12 CFR § 1002.12(b)(2) (requiring retention of applications and the

“action taken” on the application).

     In 2021, however, the CFPB invoked § 1691c-2 to propose a new

rule requiring small-business lenders to collect information far beyond

the applicant data Congress envisioned, including granular and

competitively-sensitive questions about the pricing of loans. See

AR.000001; AR.001055-69. The CFPB proposed requiring lenders to

compile and maintain pricing information such as the interest rate,

whether the rate is fixed or variable, if variable what index and margin

are used, the value of the index at loan closing, the origination charge,

any fees to be charged in the first year of the loan, any broker fee, and

information about prepayment penalties, even though such information

is not “provided by any loan applicant.” AR.001061-62.

     In response, the regulated community sounded the alarm on the

dramatic compliance and other costs the proposed rule would impose,

and the resulting impact the rule would have on the price and supply of



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small business credit. AR.019173-77; AR.019305; AR.015654;

AR.018117; AR.018499. The basic message from the regulated

community was this: The CFPB’s proposed rule would inflict significant

costs on lenders that would be most felt by community banks and other

lenders operating in rural and underserved markets, drive some lenders

out of the small business lending industry, and ultimately negatively

impact the small business borrowers the statute was enacted to help.

AR.019173; AR.019305; AR.015654; AR.018117; AR.018499.

     Academics raised similar concerns. AR.002238-39. Academics

noted that the compliance burdens of the proposed rule would

disproportionately fall on small community banks, who make an

outsized amount of small business loans and who have the fewest

resources to comply with onerous data-collection and reporting

requirements. AR.002238-39.

     Regulators with expertise in small business lending also

expressed serious concerns. AR.018385. The U.S. Small Business

Administration’s (SBA) Office of Advocacy—the agency within the U.S.

Federal government specifically tasked with “evaluat[ing] the efforts of

Federal agencies … to assist minority enterprises,” 15 U.S.C.



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§ 634b(7)—for example, warned that the proposed rule could “lead to a

decrease in lending to small, minority- and women-owned businesses”

because it was “unnecessarily burdensome to small entities” and could

“impact the cost of credit for small businesses.” AR.018385. But

collecting “authoritative” data that would paint an accurate picture of

the costs the proposed rule would impose would take more than the

three months the CFPB had granted for the comment period. See

AR.018388 n.10.

     Against this backdrop, SBA Advocacy urged the CFPB to extend

the comment period so that it could collect accurate data on the

compliance costs from the regulated community to ensure that its cost-

benefit analysis reflected the true costs of the proposed rule.

AR.018386. Despite these concerns, however, the CFPB did not extend

the comment period to collect the most accurate data to undertake the

cost-benefit analysis and it proceeded to finalize the proposed rule

without it.

     In May 2023, the CFPB issued the final rule. See 88 Fed. Reg.

35,150 (May 31, 2023). In discussing its cost-benefit analysis, the CFPB

recognized that its analysis contained information gaps. The CFPB



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said that it lacked the data necessary to “quantify the potential costs,

benefits, and impacts of the final rule,” AR.000343, but shared the

bases for its one-time and ongoing cost estimates.

     To measure one-time costs, the CFPB relied on a 2020 survey.

The 2020 survey, however, “assumed that reporting was required only

for the 13 statutorily required data points and that compliance with the

statutory firewall requirement”—the requirement that certain

demographic information be shielded from those who make decisions on

whether to grant loans, § 1691c-2(d)—“was not required” and obtained

responses from a small unrepresentative sample of institutions.

AR.000444. Indeed, the survey was completed by only 105 lenders, with

only 42 depository institutions (out of 6,200) and 7 out of the many non-

depository institutions responding to the survey’s questions on one-time

costs. AR.000614-15; ECF 79 at 12. And broken down by asset sizes of

depository institutions, the response numbers were even more anemic:

Each asset category had only between seven and nine institutions

respond. AR.000615-16.

     The CFPB offered no reason to think those limited survey

responses were representative. AR.000615-16. To the contrary, the



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CFPB acknowledged that there were outliers across each category,

raising doubts about the representativeness of the data it acquired

through its tiny sample sizes. AR.000615-16.

     As for non-depository institutions, the CFPB acknowledged that

“not enough” non-depository institutions responded to “obtain

meaningful estimates” yet conceded that they would “need to make

more changes to their existing business operations,” i.e., would need to

incur more costs. AR.000615.

     As for ongoing costs, the CFPB relied on data from a different

CFPB rule from the (very different) mortgage lending context to

measure such costs. AR.000347.

     In 2023, Plaintiffs challenged the CFPB’s rule and sought to

preliminarily enjoin it. Plaintiffs contended that the rule was invalid

because, under this Court’s decision in Community Financial Services v.

CFPB, 51 F.4th 616 (5th Cir. 2022), the CFPB’s funding structure was

unconstitutional. ECF 13, 44, 45, 54, 68. Based on that precedent, the

district court concluded that Plaintiffs were likely to succeed on the

merits of their constitutional claim. ECF 25, 69. The district court also

concluded that Plaintiffs had shown they would be irreparably harmed



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in the form of compliance costs if forced to comply with the CFPB’s rule

and that Defendants the CFPB and Rohit Chopra had failed to meet

their burden that the harm to their interests outweighed the harms to

Plaintiffs. ECF 25, 69. The district court thus enjoined the CFPB’s rule

and stayed “all deadlines for compliance with the requirements of the

Final Rule.” ECF 25 at 16-17; ECF 69 at 7-8.

     Recognizing, however, that Community Financial was under

review by the Supreme Court, the district court ruled that its injunction

remained in place, most relevant here, “pending the Supreme Court’s

reversal.” ECF 25 at 16-17; ECF 69 at 7-8. In the case of a reversal,

the district court ordered Defendants “to extend Plaintiffs and their

members, Intervenors and their members, and all covered financial

institutions’ deadlines for compliance with the requirements of the final

rule to compensate for the period stayed.” ECF 69 at 7-8.

     The case proceeded to summary-judgment on the APA claims.

While summary-judgment briefing was underway, the Supreme Court

reversed this Court’s decision in Community Financial, so the district

court’s injunction expired and the CFPB issued a new compliance




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timetable for its new rule. ECF 97, 98, 101; 89 Fed. Reg. 55,024,

55,026-27 (July 3, 2024).

     At summary judgment, Plaintiffs contended that the CFPB’s rule

violates the APA because it was promulgated in excess of statutory

authority and because it is arbitrary and capricious. ECF 78, 95. Most

relevant to this appeal, Plaintiffs argued that the CFPB had exceeded

its statutory authority by expanding the list of data collection required

by the new rule far beyond what Congress intended. ECF Nos. 78, 95.

Plaintiffs also argued that the CFPB’s failure to meaningfully consider

costs in its cost-benefit analysis rendered the rule arbitrary and

capricious. ECF Nos. 78, 95.

     The district court disagreed with Plaintiffs, concluding that the

CFPB acted within its authority and repeating the refrain that the

CFPB considered but rejected contrary views about the costs the rule

would impose, which it said the CFPB was permitted to do. ECF 115.

The district entered summary judgment for Defendants. ECF 115; 123.

     Plaintiffs sought a stay of the compliance deadlines from the

district court given Plaintiffs’ expected appeal of its summary-judgment

order and the irreparable harm they faced absent a stay, but the



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district court effectively denied the stay by not ruling on the motion.

See ECF 124.

     Plaintiffs appealed and now move for a stay, tolling the CFPB

compliance deadlines, pending appeal. ECF 125.

                          LEGAL STANDARD

     In determining whether to issue a stay pending appeal, the Court

considers four factors: “(1) whether the stay applicant has made a

strong showing that [it] is likely to succeed on the merits; (2) whether

the applicant will be irreparably injured absent a stay; (3) whether

issuance of the stay will substantially injure the other parties

interested in the proceeding; and (4) where the public interest lies.”

Plaquemines Par. v. Chevron USA, Inc., 84 F.4th 362, 373 (5th Cir.

2023) (citation omitted). The first two factors are the most important.

Id. And as to the first factor, this Court has stressed that “the movant

need not always show a ‘probability’ of success on the merits; instead,

the movant need only present a substantial case on the merits when a

serious legal question is involved and show that the balance of the

equities weighs heavily in favor of granting the stay.” Id. (citation

omitted) (emphasis omitted).



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                               ARGUMENT

I.   Plaintiffs Are Likely To Succeed On The Merits.

     Plaintiffs are likely to succeed on the merits of their appeal

because Defendants promulgated the rule in excess of statutory

authority, 5 U.S.C. § 706(2)(C), and because the rule is arbitrary and

capricious, id. § 706(2)(A).

     A.    Plaintiffs are likely to succeed in their argument that
           the CFPB rule exceeds the CFPB’s statutory
           authority.

     Plaintiffs are likely to succeed on appeal in showing that the

CFPB exceeded its statutory authority when it promulgated the new

rule. “It is axiomatic that an administrative agency’s power to

promulgate legislative regulations is limited to the authority delegated

[to it] by Congress.” VanDerStok v. Garland, 86 F.4th 179, 187 (5th Cir.

2023) (cleaned up). Here, the CFPB exceeded the authority conferred

by statute, 15 U.S.C. § 1691c-2. That statute requires lenders collect

and disclose data about applications and the underwriting decision with

respect to those applications. The rule, however, steps beyond that

statutory power to now collect information about loan pricing. The two

types of data loan sets are very distinct; and collecting and turning that



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information over to the CFPB, who can then make the information

public (15 U.S.C. § 1691c-2(f)(2)) raises distinct costs and risks.

     Section 1691c-2’s plain language and structure are all about the

loan application data and the underwriting decision with respect to that

loan application. See Chamber of Com. v. DOL, 885 F.3d 360, 372 (5th

Cir. 2018) (“[T]he words of a statute must be read in their context and

with a view to their place in the overall statutory scheme.” (citation

omitted)). Notably, lenders’ obligation to “compile and maintain”

information under subsection (e)(1) is limited to “information provided

by any loan applicant,” and does not include pricing information. Then

subsection (e)(2) lists information that a lender must collect and share

with the CFPB (which can then make the information public). By its

plain terms, except as otherwise expressly provided, the power to collect

data under subsection (e)(2) is limited to the data submitted by the loan

applicant in subsection (e)(1). In other words, the power to collect data

under this section is generally limited to: “Information compiled and

maintained under paragraph (1),” 15 U.S.C. § 1691c-2(e)(2)—i.e., the

“the information provided by any loan applicant pursuant to a request

under subsection (b),” id. § 1691c-2(e)(1).



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     And then subsection (e)(2) proceeds to provide a list of such data

that must be compiled and maintained. Not surprisingly, each and

every part of the subsection’s list enumerates data points that concern

the loan application and the underwriting decision with respect to that

loan application:

     (A) the number of the application and the date on which the
     application was received;
     (B) the type and purpose of the loan or other credit being applied
     for;
     (C) the amount of the credit or credit limit applied for, and the
     amount of the credit transaction or the credit limit approved for
     such applicant;
     (D) the type of action taken with respect to such application, and
     the date of such action;
     (E) the census tract in which is located the principal place of
     business of the women-owned, minority-owned, or small business
     loan applicant;
     (F) the gross annual revenue of the business in the last fiscal year
     of the women-owned, minority-owned, or small business loan
     applicant preceding the date of the application;
     (G) the race, sex, and ethnicity of the principal owners of the
     business; and
     (H) any additional data that the Bureau determines would aid in
     fulfilling the purposes of this section.

15 U.S.C. § 1691c-2(e)(2) (emphases added). None of these address

pricing information or other information unrelated to the loan

application and the underwriting decision. Rather, all of the

enumerated data points speak to the loan application and the action



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taken on that application, information which lenders already must

document and retain, see 15 U.S.C. § 1691(d) (requiring adverse action

notices to be provided to applicants); 12 C.F.R. § 1002.12(b)(2)

(requiring retention of applications and the “action taken” on the

application).

      The final catch-all provision, subsection (e)(2)(H), must be read in

light of the rest of (e)(1) and (e)(2) (which is generally limited to the

scope of (e)(1)). The established ejusdem generis canon recognizes that

when “general words” “follow an enumeration of two or more things,”

the general words “apply only to … things of the same kind or class

specifically mentioned.” Antonin Scalia & Bryan A. Garner, Reading

Law: The Interpretation of Legal Texts 199 (2012); accord Epic Sys.

Corp. v. Lewis, 584 U.S. 497, 512-13 (2018). That requires reading

subsection (e)(2)(H) as likewise speaking to data regarding loan

origination, and not an open-ended license to collect and make public all

data that the CFPB might desire.

      Two other related statutory provisions underscore that Congress

wanted the CFPB to collect information about the loan applicant and




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the decision taken on the loan application but did not intend § 1691c–

2(e) to grant the CFPB authority to collect pricing or other information.

     First is a feature of § 1691c-2 itself. As noted above, the statute

grants the CFPB the power to make public the information it collects

under this statute 15 U.S.C. § 1691c-2(f)(2) (the CFPB authority to

make “available to the public generally” any “[i]nformation compiled

and maintained under this section.”). Congress would not have

provided for such discretionary public disclosure if it intended to include

loan pricing information.

     That is because the small business loan market is not

standardized—so much so that, as one commenter explained, a

community bank may “lend to small firms that may have been refused

funding elsewhere” based on unique criteria and on terms that depend

heavily on the particular firm’s relationship to the lending bank. See

ECF 79 at 13-15, 30; AR.024521-25. Given the unique way that small

lending is done, pricing information is not shared with the public.

Quite the opposite: It is generally closely held by lenders because its

disclosure “would put the customers and … [b]ank[s] at a disadvantage”

by “let[ting] the competition know what the customer’s current rates



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are.” AR.017555. In short, pricing information is highly valuable,

sensitive commercial information.

     Had Congress wanted to allow such sensitive, valuable

commercial information to be made public, it would have said so clearly

and provided guardrails to protect the information. But instead,

Congress exempted business loans from Truth in Lending Act’s (TILA),

15 U.S.C. § 1601, et seq., disclosure requirements, see 15 U.S.C.

§ 1603(1); AR.019329; ECF 79 at 30.

     The second clue is that Congress knows how to ask lenders to

collect pricing information when it wants to and notably failed to do so

here. The data collection obligations Congress imposed in § 1691c-

2(e)(2) are modeled on those applicable to mortgage lenders under the

HMDA. In the HMDA, Congress required the compilation of

information regarding points and fees, the annual percentage rates, and

prepayment penalties applicable to mortgage loans. See 12 U.S.C.

§ 2803(b)(5). Not so with § 1691c-2(e)(2): Notably absent from § 1691c-

2(e)(2) is any mention of pricing data. Indeed, unlike with the HMDA,

Congress expressly limited small business lenders’ obligation to

“compile and maintain” data to the information “provided by any loan



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applicant.” 15 U.S.C. § 1691c-2(e)(1). And while the second paragraph

of this subsection directs lenders to itemize this information, that

obligation was expressly limited to “[i]nformation compiled and

maintained under paragraph (1),” id. § 1691c-2(e)(2)—i.e., “information

provided by any loan applicant,” id. § 1691c-2(e)(1).

     Against this statutory backdrop, § 1691c-2(e)(2)(H) cannot be read

as a license to collect and make public pricing-related data.

     By requiring collection and reporting of detailed information about

loan pricing, the rule thus exceeds the authority Congress granted to

the CFPB.

     B.     Plaintiffs are also likely to succeed on appeal based
            on their argument that the CFPB’s new rule is
            arbitrary and capricious.

     Plaintiffs are also likely to succeed on the merits of their claim

that the CFPB’s rule is arbitrary and capricious under 5 U.S.C.

§ 706(2)(A). A rule must be found arbitrary and capricious when an

agency fails to “reasonably consider[] the relevant issues” and fails to

“reasonably explain[][its] decision.” FCC v. Prometheus Radio Project,

592 U.S. 414, 423 (2021). And an agency will not be deemed to have

considered an issue sufficiently without meaningfully “considering the



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costs and benefits associated with the regulation.” Mexican Gulf

Fishing Co. v. U.S. Dep’t of Com., 60 F.4th 956, 973 (5th Cir. 2023); see

also 12 U.S.C. § 5512(b)(2). Even where an agency performs a cost-

benefit analysis, it will be considered inadequate if the agency “duck[s]

serious evaluation of” relevant costs or if the analysis suffers from a

serious flaw. Bus. Roundtable v. SEC, 647 F.3d 1144, 1150-55 (D.C.

Cir. 2011).

     The rule is plainly arbitrary and capricious because it failed to

consider key cost data when performing its cost-benefit analysis.

              1.   The CFPB blinded itself to accurate data.

     The CFPB performed a fundamentally flawed cost-benefit

analysis, where it refused to consider vital cost data. As this Court has

held, an “agency does not get to bury its head in the sand and ignore”

data that undermines its costs-benefits theory. MCR Oil Tools, L.L.C.

v. DOT, 110 F.4th 677, 698 (5th Cir. 2024). But that is precisely the

tack the CFPB took.

     The rule imposes significant costs on the regulated community.

The costs of gathering numerous additional data points of information

would have both substantial one-time costs (in establishing the



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mechanisms and technology to perform the required tasks), as well as

ongoing costs in complying over time. AR.019173; AR.019305;

AR.015654; AR.018117; AR.018499; AR.018385-89. The regulated

community and SBA Advocacy expressed strong concerns that the

CFPB, in proposing these requirements, was significantly

underestimating the costs of the proposed rule because new software,

new forms, and new applications, would require significant investments

in training hours that the CFPB was underestimating. AR.019173;

AR.019305; AR.015654; AR.018117; AR.018499; AR.018385-89.

     For example, SBA Advocacy noted the missing cost data from the

regulated community, which it properly characterized as “authoritative

information about the costs associated with” the proposed rule.

AR.018385-92; see also AR.000023; AR.000343; AR.000444. SBA

Advocacy advised the CFPB to collect that data from the regulated

community. AR.018386. SBA Advocacy went further and

recommended that the CFPB extend the comment period so that the

CFPB could gather and consider that authoritative information. Id.

     The CFPB refused. Instead, the CFPB charged ahead to assess

both one-time and ongoing compliance costs without that necessary



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input. AR.000343. The CFPB rooted its one-time cost analysis in a

2020 survey of financial institutions. AR.000023; AR.000358-61. That

survey, however, only accounted for the costs associated with the

preexisting data points under the statute—a much more limited class of

data—and (as discussed above) no data regarding loan pricing.

AR.000023; AR.000444. And that old survey data did not cover costs

associated with “the statutory firewall requirement,” AR.000444, which

the CFPB commenters said, “would be very costly to implement.”

AR.000361. Finally, the old survey data was also unrepresentative. It

was based on data from only 42 depository institutions (out of 6,200)

and 7 non-depository institutions. AR.000614-15; ECF 79 at 12.

     The CFPB’s ongoing-cost analysis suffered from serious flaws too.

To undertake this analysis, the CFPB looked to its analysis of costs

associated with a different rule the CFPB promulgated under HMDA,

12 U.S.C. § 2801, et seq. AR.000347; AR.000352; AR.000361-64. But

the costs associated with the HMDA final rule offered no sound basis to

predict the costs associated with the CFPB’s rule. For one, the

mortgage and small-business lending markets are worlds apart. Unlike

mortgage banking, “[s]mall-business financial reports and small-



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business lending documentation are not standardized.” AR.002239.

Indeed, as commenters noted, small business loans are “more complex

and differ based on” things like the local economics of the community

where the loan will issue and a bank’s business plan. AR.019174.

     For another, the compliance costs of the HMDA final rule were

comparatively less burdensome because federal law already required

much of the data collection the HMDA final rule sought, including

detailed pricing information. See, e.g., 15 U.S.C. § 1637; 12 C.F.R.

§ 1026.38. Not so here: Neither federal law nor the vast majority of

states require small lenders to collect the information that the CFPB’s

rule now requires. See § 1603(1); AR.019329. The costs imposed by the

HMDA final rule are thus a particularly poor gauge for the costs

imposed by the new CFPB rule.

     Based on the CFPB’s unwillingness to collect and examine the

necessary “authoritative” data from lenders, AR.018388 n.10, the

CFPB’s resulting cost-benefit analysis grossly underestimated the costs

the rule imposes. The CFPB tried shielding its cost-benefit analysis

from arbitrary-and-capricious scrutiny by noting that “the data limit

the Bureau’s ability to quantify the potential costs, benefits, and



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impacts of the final rule,” AR.000343. But of course the reason the

CFPB had data that “limit[ed]” its ability to accurately quantify costs in

the first place is because it failed to seek out that data. Id.

     The CFPB could not properly deny the opportunity for

commenters to supply the CFPB with the necessary data and then

excuse the shortcomings of its own cost analysis based on the fact that

it only collected limited data. That reflects quintessential arbitrary and

capricious decision-making.

           2.    The CFPB improperly glossed over litigation
                 costs.

     The CFPB also failed to meaningfully consider that, by seeking

data on loan pricing and making that sensitive pricing data public, the

rule will trigger unfair litigation, especially against small lenders. The

fewer loans, the more distorted lending pricing patterns can look, giving

fodder to unwarranted legal claims. See AR.000323-24; AR.000333.

The CFPB itself acknowledged the risk that “financial institutions may

need to defend against some increased litigation about their small

business lending practices.” AR.000323.

     The CFPB did nothing to take those costs into account or to

mitigate them. Its only response was to say the increased data collected


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may help lenders “defend against such litigation.” AR.000323. That is

not a meaningful response. See In re NTE Conn., LLC, 26 F.4th 980,

989 (D.C. Cir. 2022) (“failure to respond meaningfully … [renders the

agency’s cost analysis] arbitrary and capricious” (citation omitted)).

      In sum, Plaintiffs are likely to succeed on the merits of their

arguments that the CFPB’s rule exceeds the statutory authority

Congress granted to the CFPB and is arbitrary and capricious. The

CFPB exceeded its authority by seeking to collect pricing information

when Congress keyed § 1691c-2(d) to underwriting, and the CFPB’s

cost-benefit analysis was arbitrary and capricious because the CFPB

blinded itself to accurate data about the costs to rely on inaccurate data

that underestimated the costs of the new rule.

II.   Plaintiffs Will Be Irreparably Harmed.

      Without a stay, Plaintiffs and their members will suffer

irreparable harm. “[C]osts imposed on parties are irreparable where

they cannot be recovered ‘in the ordinary course of litigation.’” Texas v.

EPA, 829 F.3d 405, 434 n.41 (5th Cir. 2016) (cleaned up). For that

reason, “complying with a [rule] later held invalid almost always




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produces the irreparable harm of nonrecoverable compliance costs.” Id.

at 433 (cleaned up) (citation omitted).

     Unless this Court grants a stay pending the outcome of this

appeal, Plaintiffs and their members will incur significant costs to

ensure their compliance with the CFPB’s rule by July 2025. 89 Fed.

Reg. 55,025. The costs include one-time implementation costs and the

costs of hiring new staff to meet the mandatory compliance deadlines.

See ECF 12-1, Exhibit A; ECF 12-2, Exhibit B; ECF 12-3, Exhibit C;

ECF 44, Exhs. 1-3; ECF 23, Exhs. 1-2; ECF 45, Exhs. A-C; ECF 54,

Exhs. A, B). Because those costs cannot be recovered once they are

incurred, they are irreparable.

     Absent a stay, Plaintiffs’ members will also suffer other forms of

irreparable harm. Community and mid-size bank members will be

forced into a compliance regime that will force some of them out of the

small business loan industry altogether. ECF 44 at ECF page13 & Ex.

1 at ECF page14. The result will be lost business for banks, an

economic harm that is difficult to quantify, and reputational damage

given the lost borrowing opportunities for women and minority-owned

businesses that depend on community and mid-size banks. Further,



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any lenders that are not currently authorized to collect certain sensitive

data will be forced to begin doing so to comply with the CFPB’s rule.

Those harms are irreparable. Florida Businessmen for Free Enter. v.

Hollywood, 648 F.2d 956, 958 n.3 (5th Cir. 1981).

III. The Balance Of Equities Heavily Favors A Stay.

     The balance of equities also supports a stay. “The equities favor a

stay if it would benefit the [movant] more than it would harm the

nonmovants.” Robinson v. Ardoin, 37 F.4th 208, 228 (5th Cir. 2022).

Once this Court has “concluded that [the movant’s] harm is irreparable”

the nonmovant must “present powerful evidence of harm to its interests

to prevent [the movant] from meeting this requirement.” Opulent Life

Church v. Holly Springs, 697 F.3d 279, 297 (5th Cir. 2012). Plaintiffs

have shown irreparable harm and Defendants, have no evidence of

substantial harm in tolling the compliance deadlines until this appeal is

resolved. And any minimal harm will be mitigated by expediting the

appeal. Thus, the balance of harms strongly supports granting this

motion. Plaquemines, 84 F.4th at 373.




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IV.   A Temporary Stay Is Warranted While This Court
      Considers This Motion.

      To prevent their irreparable harm while this Court considers the

motion to stay, Plaintiffs request that the Court temporarily stay and

toll the compliance deadlines until this Court rules on this motion.

V.    The Appeal Should Be Expedited.

      To mitigate the irreparable harms to Plaintiffs, and to eliminate

any meaningful harm to Defendants, Plaintiffs ask the Court to

expedite the briefing and schedule oral argument on the next available

calendar. Plaintiffs propose this briefing schedule:




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        • Opening brief: 28 days after the ruling on this motion;

        • Answering brief: 28 days later; and

        • Reply brief: 10 days thereafter.

                            CONCLUSION

     Accordingly, this Court should issue a stay, tolling the CFPB’s

compliance deadlines pending appeal. Plaintiffs also request that this

Court temporarily stay the compliance deadlines while it considers the

stay-pending-appeal motion. Finally, the Court should expedite this

appeal, as proposed above, and set this case for oral argument on the

next available calendar.




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Respectfully submitted,

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October 30, 2024




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        CERTIFICATE OF COMPLIANCE WITH RULE 27.3


I certify the following in compliance with Fifth Circuit Rule 27.3

  • Before filing this motion, counsel for Appellant contacted the
    clerk’s office and opposing counsel to advise them of Appellant’s
    intent to file this motion. Opposing counsel stated that they
    oppose the stay and an administrative stay, but said they may be
    open to an expedited schedule if they are permitted 45 days for
    their response brief.

  • The facts stated herein supporting emergency consideration of this
    motion are true and complete.

  • The Court’s review of this motion is requested as soon as possible,
    but no later than November 12, 2024. In the alternative,
    Plaintiffs request an immediate temporary administrative stay
    while the Court considers this motion.

  • True and correct copies of relevant orders and other documents
    are attached in the Appendix to this motion, filed separately.

  • This motion is being served at the same time it is being filed.

                 CERTIFICATE OF CONFERENCE

     On October 29, 2024 and October 30, 2024, Robert M. Loeb,

counsel for Appellant, conferred by e-mail with Karen Bloom and Kevin

Friedl, counsel for Appellees, who stated that Appellees oppose the stay

and an administrative stay, but said they may be open to an expedited

schedule if they are permitted 45 days for their response brief.
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                 CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limitation of Fed. R. App.

P. 27(d)(2) because this motion contains 5,183 words, excluding the

parts of the brief exempted by Fed. R. App. P. 32(f).

     This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6)

because this brief has been prepared in a proportionally spaced typeface

using Microsoft Word 365 in Century Schoolbook 14-point font.
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                    CERTIFICATE OF SERVICE

     On October 30, 2024, this motion was served via CM/ECF on all

registered counsel and transmitted to the Clerk of the Court. In

addition, the motion was served via email and first class mail on

counsel for Defendant-Appellee. Counsel further certifies that: (1) any

required privacy redactions have been made in compliance with Fifth

Circuit Rule 25.2.13 (2) the document has been scanned with the most

recent version of Symantec Endpoint Protection and is free of viruses.

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